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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 1:18-CV-20818-GA YLES/OTAZO-REYES
PDVSA US LITIGATION TRUST,
Plaintiff,
Vv.
LUKOIL PAN AMERICAS LLC, et al.,

Defendants.
/

REPORT AND RECOMMENDATION

THIS CAUSE came before the Court upon Defendants Trafigura Trading, LLC, Colonial
Oil Industries, Inc., Colonial Group, Inc., Paul Rosado, Glencore Ltd., Glencore Energy UK Ltd.,
Gustavo Gabaldon, Sergio de la Vega, Vitol Inc., Vitol Energy (Bermuda) Ltd., Antonio
Maarraoui, BAC Florida Bank, and Luis Alvarez’s (collectively “Defendants”) Verified Motion
for Attorneys’ Fees and Non-Taxable Expenses and Costs (hereafter, “Motion for Fees and
Costs”), filed on May 28, 2019 [D.E. 702]. This matter was referred to the undersigned by the
Honorable Darrin P. Gayles, United States District Judge, pursuant to Title 28, United States Code,
Section 636 [D.E. 220, 709]. For the reasons stated below, the undersigned respectfully
recommends that the Motion for Fees and Costs [D.E. 702] be GRANTED IN PART AND
DENIED IN PART.

FACTUAL AND PROCEDURAL BACKGROUND
Plaintiff PDVSA U.S. Litigation Trust (hereafter, “Plaintiff” or the ““Trust”) commenced

this action on March 3, 2018 [D.E. 1].! The Trust filed an Amended Complaint on March 5, 2018

 

' PDVSA is the Venezuelan state-owned energy company Petroleos de Venezuela, S.A. See Am.
Compl. [D.E. 12 at 2].
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[D.E. 12]. In its amended pleading, the Trust alleged that Defendants engaged in a conspiracy to:
“fix prices, rig bids, and eliminate competition in the purchase and sale of crude oil and
hydrocarbon products by PDVSA; misappropriate PDVSA proprietary data and intellectual
property; and systematically loot PDVSA by causing corrupt PDVSA officials not to collect
monies due PDVSA, to pay inflated prices for products and services acquired by PDVSA, to accept
artificially low prices for products sold by PDVSA, to overlook the failure to deliver products and
services paid for by PDVSA, and to fraudulently conceal what was owed to PDVSA.” See Am.
Compl. [D.E. 12 at 2-3].

In the section of the Amended Complaint entitled “Parties,” the Trust alleged: “Plaintiff
PDVSA US Litigation Trust is a trust established pursuant to the laws of New York to investigate
and pursue claims against Defendants and others.” Id. at 4.

The Amended Complaint consists of nineteen counts:

Count I PDVSA Sales of Hydrocarbon Products — Violations of Section I of the
Sherman Act.

Count I PDVSA Purchases of Light Crude Products — Violations of Section I of the
Sherman Act.

Count III PDVSA Sales of Hydrocarbon Products — Violations of Section 2(c) of the
Robinson-Patman Act.

Count IV PDVSA Purchases of Light Crude Products — Violations of Section 2(c) of
the Robinson-Patman Act.

Count V Violations of the Florida Deceptive and Unfair Trade Practices Act.

Count VI Violations of the U.S. Racketeer Influenced and Corrupt Organizations Act
Under 18 U.S.C. § 1962(c).

Count VII Violations of the U.S. Racketeer Influenced and Corrupt Practices Act
Under 18 U.S.C. § 1962(d).

Count VHI Violations of the Civil Remedies for Criminal Practices Act.
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Count IX
Count X
Count XI
Count XII
Count XIII
Count XIV
Count XV
Count XVI

Count XVII

Count XVII

Count XIX

Id. at 27-58.

Fraud.

Civil Conspiracy.

Aiding and Abetting Breach of Fiduciary Duty.

Aiding and Abetting Fraud.

PDVSA Purchases of Light Crude Products — Breach of Contract.

PDVSA Sales of Hydrocarbon Products — Breach of Contract.

Unjust Enrichment.

Violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030.
Violation of the Stored Communications Act, 18 U.S.C. § 2701.

Violation of the Wire and Electronic Communications Interception and
Interception of Oral Communications Act (Federal Wiretap Act), 18 U.S.C.

§ 2510.

Violation of the Florida Uniform Trade Secrets Act, CH. 688.

In its Prayer for Relief, the Trust sought various forms of damages, interest, costs, fees,

and injunctive relief. Id. at 58-59. According to the PDVSA USS. Litigation Trust Agreement

(hereafter, “Trust Agreement”) [D.E. 430-1 at 35-53], Defendants’ purported misconduct “caused

and continues to cause vast damages to PDVSA and the people of Venezuela;” therefore, “in order

to obtain compensation for PDVSA and the people of Venezuela, PDVSA is authorizing the

engagement of United States law firms and investigators to further investigate, commence one or

more civil actions (the “Assigned Actions”), and prosecute the Assigned Actions to conclusion.”

Id. at 35. The Trust Agreement further states that PDVSA entered into it “to ensure the

engagement of legal counsel and the investigators . .. and to provide for the orderly and consensual
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distribution of the Proceeds of the Assigned Actions, whether by pre-suit settlement, post-suit
settlement, or judgment, to PDVSA.” Id.

On April 16, 2018, pursuant to Defendants’ Joint Request [D.E. 193], the undersigned
entered a Scheduling Order prescribing a procedure and schedule for the parties to conduct
discovery on the issue of the Trust’s standing to bring this action. See Scheduling Order [D.E.
253]. The Scheduling Order stated that each side would take no more than four fact depositions
as to the issue of standing and that these depositions were to be completed by May 4, 2018. Id. at
2.

On April 24, 2018, Defendants informed the Court that for two of the four fact depositions
to which they were entitled, they intended to depose a corporate representative of PDVSA and
Reinaldo Munoz Pedroza (“Mr. Pedroza”), the Procurador General of Venezuela, who, as “General
Attorney,” purportedly “duly authorized” the Trust Agreement under Venezuelan law. See Notice
of Issues to be Addressed During April 25, 2018 Telephonic Discovery Conference [D.E. 276 at
6]; Trust Agreement [D.E. 430-1 at 47, 49]. On that same date, Defendants noticed the deposition
of PDVSA’s corporate representative, to be conducted.on May 3, 2018. See Notice of Deposition
of PDVSA [D.E. 277-1].

The undersigned held a Telephonic Discovery Hearing on April 25, 2018, at which the
depositions of PDVSA’s corporate representative and Mr. Pedroza were discussed [D.E. 279].
Based on the representations made at that hearing, the undersigned ordered the parties to meet and
confer on, inter alia, the availability of PDVSA’s corporate representative and Mr. Pedroza for
deposition by April 27, 2018. See First Discovery Order [D.E. 278 at 3]. At a Continued
Telephonic Discovery Conference on April 30, 2018, Plaintiff's counsel represented that Plaintiff

had arranged for PDVSA’s corporate representative and Mr. Pedroza to be available for deposition.
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See Transcript of 4/30/2018 Hearing [D.E. 357 at 12-13]. The undersigned incorporated Plaintiff's
agreement to produce the PDVSA corporate representative and Mr. Pedroza in a contemporaneous
discovery order. See Second Discovery Order [D.E. 355 at 2] (“Defendants have identified and
Plaintiff has agreed to produce for deposition: the 30(b)(6) representatives of the Trust and
PDVSA, respectively; and Reinaldo Munoz Pedroza.”). The deadline to complete all fact
depositions on the issue of the Trust’s standing was extended to May 22, 2018. See Supplemental
and Amended Scheduling Order [D.E. 356 at 2].

On May 8, 2018, the undersigned held a Follow-Up Telephonic Hearing [D.E. 369], at
which the parties agreed to work together to schedule the depositions of Mr. Pedroza and the
corporate representative of PDVSA, Dr. Hilda Cabeza (“Dr. Cabeza”). See Transcript of 5/8/2018
Hearing [D.E. 373 at 33-36]. The undersigned then ruled that Defendants could depose Mr.
Pedroza and Dr. Cabeza as PDVSA’s Rule 30(b)(6) representative and extended the deadline to
complete all fact depositions on the issue of standing to the week of May 28, 2018. See Third
Discovery Order [D.E. 370 at 3].

The undersigned held a hearing on May 23, 2018, at which Plaintiff's counsel represented
that the deposition of Mr. Pedroza was scheduled to take place on May 30, 2018 in New York.
See Transcript of 5/23/2018 Hearing [D.E. 395 at 28]. Plaintiffs counsel also stated that Dr.
Cabeza was available for a deposition to be taken by video conference in Venezuela, but that she
was unable to travel to the United States for political reasons. Id. at 29, 34. Counsel further stated
that they would try to accommodate Defendants’ request to depose PDVSA’s corporate
representative by either: having the deposition by video conference in Venezuela, which
Defendants declined due to Venezuela’s restrictions on foreign depositions; bringing Dr. Cabeza

to another country for the deposition; or finding someone else who could be educated as a Rule
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30(b)(6) witness to testify at a deposition in the United States. Id. at 39-40. The undersigned
incorporated the parties’ agreement regarding Mr. Pedroza into a contemporaneous discovery
order. See Fourth Discovery Order [D.E. 390 at 3] (“With regard to the pending depositions on
Plaintiff's standing, the deposition of Mr. Reinaldo Munoz Pedroza is scheduled to take place on
May 30, 2018 in New York.”). The undersigned also prescribed a deadline of May 25, 2018, for
the parties to file a joint notice disclosing the deponent’s identity, date and location for the
deposition of PDVSA’s Rule 30(b)(6) representative. Id.

On May 25, 2018, the Trust filed its Notice to the Court with Regard to Depositions, in
which it stated that the parties had advised each other that the deposition of PDVSA’s corporate
representative. would take place on June 7, 2018 in Madrid, Spain [D.E. 398]. Email
correspondence between the parties showed that Plaintiff's counsel had identified Dr. Cabeza as
the corporate representative who would appear at that deposition. See Email Correspondence
[D.E. 399-4 at 2]. However, Mr. Pedroza’s deposition, which had been scheduled to take place in
New York on May 30, 2018, was cancelled because “the President of Venezuela had restricted
travel of government officials outside the country.” See Emails from Plaintiff's counsel, George
Carpinello, dated May 27, 2018 [D.E. 430-1 at 7-8].

On May 29, 2018, the undersigned held a hearing at which Plaintiff's counsel confirmed
that Dr. Cabeza’s deposition would go forward on June 8, 2018 in Madrid, Spain, but that they
were still determining whether Mr. Pedroza could be produced for deposition. See Transcript of
3/29/2018 Hearing [D.E. 408 at 46-52]. On May 30, 2018, the undersigned issued the Fifth
Discovery Order, which stated: “With regard to the pending depositions on the issue of Plaintiff's
standing, those depositions must be completed by June 11, 2018.” See Fifth Discovery Order

[D.E. 404 at 4] (emphasis in original).
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On June 7, 2018, the Honorable Andrea M. Simonton, United States Magistrate Judge,
presided over an emergency telephonic hearing due to the undersigned’s absence from the
Southern District of Florida. See Order [D.E. 422 at 1]. At the telephonic hearing, Plaintiff advised
that the deposition of Dr. Cabeza as PDVSA’s corporate representative, which had been scheduled
for Friday, June 8, 2018 in Madrid, Spain “was cancelled because the President of Venezuela
precluded Dr. Cabeza from leaving Venezuela for the deposition.” Id.

On June 14, 2018, Defendants filed a Motion, by Order to Show Cause, for Sanctions
(hereafter, “Motion for Sanctions”) [D.E. 430]. Defendants argued that the Trust failed to fully
comply with the discovery contemplated by the Scheduling Orders issued by the undersigned. Id.
Defendants sought as sanctions: (1) the dismissal of Plaintiffs claims; (2) in the alternative, an
order precluding Plaintiff from claiming that PDVSA properly created the Trust or properly
assigned claims to the Trust, and/or from offering or relying on any evidence from PDVSA in
attempting to prove its standing; and (3) an award of attorneys’ fees and costs. Id. Defendant
Maximiliano Poveda joined the Motion for Sanctions on June 15, 2018 [D.E. 434]. On June 28,
2018, Plaintiff filed its Opposition to Defendants’ Motion for Sanctions (hereafter, “Sanctions
Response”) [D.E. 459]. On June 29, 2018, Defendants Francisco Morillo, Leonardo Baquero,
Helsinge Holdings, LLC, Helsinge, Inc., Helsinge Ltd., Daniel Lutz, Luis Liendo, and Maria
Fernanda Rodriguez filed a Notice of Facts in Support of Defendants’ Motion for Sanctions
(hereafter, “Notice of Facts”) [D.E. 466]. Defendants filed their Reply in Further Support of their
Motion for Sanctions (hereafter, “Sanctions Reply”) on July 5, 2018 [D.E. 478]. On July 10, 2018,
Defendants filed a Notice of Supplemental Authority [D.E. 486].

On July 12, 2018, Plaintiff filed a Notice of Discovery Issues Requested to be Addressed

in Advance of Hearing on Motion to Authenticate the Trust (hereafter, “Rule 31 Notice”), in which
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it requested leave to conduct depositions upon written questions, pursuant to Federal Rule of Civil
Procedure 31, of Mr. Pedroza and two other witnesses [D.E. 487]. Defendants filed their Response
(hereafter, “Rule 31 Notice Response”) on July 16, 2018 [D.E. 497]. On July 19, 2018, the
undersigned issued the Eighth Discovery Order denying Plaintiff's request to take Rule 31
depositions by written questions of its own witnesses who had not appeared for Rule 30 depositions
by oral examination [D.E. 507].

On July 19, 2018, the undersigned also issued an Order deferring ruling on the Motion for
Sanctions pending a hearing on the issue of Plaintiff's standing, which was held on August 2 and
3, 2018. See Order [D.E. 508 at 3]; Paperless Minute Entries [D.E. 555, 558]. On November 5,
2018, the undersigned issued a Report and Recommendation (hereafter, “Standing R&R”)
recommending that this action be dismissed for lack of subject matter jurisdiction [D.E. 636]. On
March 8, 2019, the Court adopted in part the undersigned’s Standing R&R and dismissed this
action without prejudice for lack of subject matter jurisdiction [D.E. 679].

On November 5, 2018, the undersigned also issued an Order setting a Show Cause Hearing
and concluding that, given the recommended dismissal, the only relief to be addressed in the
Motion for Sanctions was Defendants’ request for an award of attorneys’ fees and costs, incurred
in connection with the preparation for the cancelled depositions of Dr. Cabeza and Mr. Pedroza
and the litigation of the Motion for Sanctions. See Order [D.E. 637]. On January 25, 2019, the
undersigned held the Show Cause Hearing. See Paperless Minute Entry [D.E. 664]. On February
11, 2019, the undersigned issued a Report and Recommendation (hereafter, “Sanctions R&R”) on
the Motion for Sanctions recommending that the Motion be granted, as previously limited, and

that sanctions be imposed against the Trust pursuant to Federal Rule of Civil Procedure 37(b) [D.E.

 

2 The Order was later amended on March 19, 2019 only to correct a scrivener’s error. See Amended Order
[D.E. 684 at 1 n.1].
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670]. On March 19, 2019, the Court adopted the undersigned’s Sanctions R&R in its entirety and
granted in part the Motion for Sanctions, stating that “[s]anctions, in the form of attorney’s fees
and costs, shall be imposed against Plaintiff[.]” See Order [D.E. 685 at 2]. In its Order, the Court
directed Defendants “to file their request for reasonable attorneys’ fees and costs incurred in
connection with their preparation for the cancelled depositions of Dr. Cabeza and Mr. Pedroza and
the litigation of the Motion for Sanctions in accordance with Southern District of Florida Local
Rule 7.3.” Id.

On May 28, 2019, Defendants timely filed their Motion for Fees and Costs, seeking a total
of $383,791.19 in attorneys’ fees and costs, comprised of $368,870.96 in fees and $14,920.23 in
costs [D.E. 702].°

On June 11, 2019, Plaintiff filed its Opposition to Defendants’ Verified Motion for
Attorneys’ Fees and Non-Taxable Expenses and Costs (hereafter, “Response”) [D.E. 704]. On
June 18, 2019, Defendants filed their Reply in Further Support of Their Verified Motion for
Attorneys’ Fees and Non-Taxable Expenses and Costs (hereafter, “Reply”) [D.E. 705].

APPLICABLE LAW

Under Rule 37(b)(2)(C) of the Federal Rules of Civil Procedure, when a party has been
found to have failed to comply with a court order without substantial justification, the court must
order that the disobedient party “pay the reasonable expenses, including attorney’s fees, caused by

the failure... .” Fed. R. Civ. P. 37(b)(2)(C).

 

> Initially, Defendants requested a total of $359,3 13.65 in attorneys’ fees and non-taxable costs. See Motion
for Fees and Costs [D.E. 702 at 2]. Defendants later stated that the initial amount requested was incorrect
due to an error in calculation and clarified that the correct amount sought was $383,791.19. See Reply in
Further Support of their Verified Motion for Attorneys’ Fees and Non-Taxable Expenses and Costs
(hereafter, “Reply”) [D.E. 705 at 5 n.1].
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“The most useful starting point for determining the amount of a reasonable fee is the
number of hours reasonably expended on the litigation multiplied by a reasonable hourly rate. This
calculation provides an objective basis on which to make an initial estimate of the value of a
lawyer’s services.” Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). The product of this
calculation is known as the lodestar. See Key W. Tourist Dev. Ass’n v. Zazzle, Inc., No. 10-CV-
10100, 2013 WL 12248141, at *5 (S.D. Fla. Jan. 9, 2013), report and recommendation
adopted, No. 10-CV-10100, 2013 WL 12248227 (S.D. Fla. Mar. 12, 2013)).

“The fee applicant bears the burden of establishing entitlement and documenting the
appropriate hours and hourly rates.” Norman v. Hous. Auth. of City of Montgomery, 836 F.2d
1292, 1303 (11th Cir. 1988). However, the “[C]ourt . . . is itself an expert on the question and may
consider its own knowledge and experience concerning reasonable and proper fees and may form
an independent judgment either with or without the aid of witnesses as to value.” Id. (quoting
Campbell v. Green, 112 F.2d 143, 144 (Sth Cir. 1940)).

DEFENDANTS’ SUBMISSIONS

In support of the Motion for Fees and Costs, Defendants submitted the following
Declarations:

1. The Declaration of Attorneys’ Fees and Costs for Paul, Weiss, Rifkind, Wharton &
Garrison, LLP (hereafter, “Paul Weiss”) by Jessica S. Carey (hereafter, “Carey
Decl.”) [D.E. 702-1 at 1-5]. The Carey Decl. references two exhibits:

a. Amended Exhibit A, detailing the fees and costs incurred by Paul
Weiss’ timekeepers in connection with the cancelled depositions of
Dr. Cabeza and Mr. Pedroza and the litigation of the Motion for
Sanctions [D.E. 703-1 at 1-6].

b. Exhibit B, consisting of Paul Weiss’ invoices for the fees and costs

set forth in the table designated as Amended Exhibit A [D.E. 702-1
at 13-190].

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2. The Declaration of Attorneys’ Fees and Costs for Quinn Emmanuel Urquhart &
Sullivan, LLP (hereafter, “Quinn Emmanuel”) by Adam Wolfson (hereafter,
“Wolfson Decl.”) [D.E. 702-2 at 1-4]. The Wolfson Decl. references one exhibit:

a. Exhibit A, consisting of Quinn Emmanuel’s invoice for the fees and
costs incurred by its timekeepers in connection with the litigation of
the Motion for Sanctions [D.E. 702-2 at 5-97].

3. The Declaration of Attorneys’ Fees and Costs for Reed Smith LLP (hereafter,

“Reed Smith”) by Edward M. Mullins (hereafter, “Mullins Decl.”) [D.E. 702-3 at

1-4]. The Mullins Decl. references two exhibits:

a. Exhibit A, consisting of the curriculum vitae of Reed Smith
timekeeper Mr. Mullins [D.E. 702-3 at 5-25].

b. Composite Exhibit B, consisting of Reed Smith’s invoices for the
fees and costs incurred by its timekeepers in connection with the
litigation of the Motion for Sanctions [D.E. 702-3 at 26-43].

4. The Joint Declaration of Attorneys’ Fees and Costs for Susman Godfrey L.L.P.
(hereafter, “Susman Godfrey”) and Gelber, Schachter & Greenberg, P.A.
(hereafter, “Gelber Schachter”) by Alexander L. Kaplan and Gerald E. Greenberg
(hereafter, “Kaplan/Greenberg Decl.”) [D.E. 702-4 at 1-6]. The Kaplan/Greenberg

Decl. references four exhibits:

a. Exhibit 1, consisting of Susman Godfrey’s invoices for the fees and
costs incurred by its timekeepers in connection with the litigation of
the Motion for Sanctions [D.E. 702-4 at 7-35].

b. Exhibit 2, consisting of Gelber Schachter’s invoices for the fees and
costs incurred by its timekeepers in connection with the litigation of
the Motion for Sanctions [D.E. 702-4 at 36-41].

c. Exhibit 3, consisting of the professional biographies of Susman
Godfrey’s timekeepers [D.E. 702-4 at 42-50].

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d. Exhibit 4, consisting of the professional biography of Gelber

5. The Declaration of Attorneys’ Fees and Costs for Hunter, Maclean, Exley and
Dunn, P.C. (hereafter, “Hunter Maclean”) and Carlton Fields Jorden Burt, P.A.

(hereafter, “Carlton Fields”) by David M. Burkoff (hereafter, “Burkoff Decl.”)

Schacter’s sole timekeeper [D.E. 702-4 at 51-54].

[D.E. 702-5 at 1-4]. The Burkoff Decl. references six exhibits:

a.

6. The Declaration of Attorneys’ Fees and Costs for Hughes Hubbard & Reed LLP

(hereafter, “Hughes Hubbard”) by Nicolas Swerdloff (hereafter, “Swerdloff Decl.”)

Exhibits A-C, consisting of the professional biographies of Hunter
Maclean’s timekeepers [D.E. 702-5 at 5-14].

Exhibit D, consisting of the professional biography of Carlton
Fields’ sole timekeeper [D.E. 702-5 at 15-20].

Exhibit E, consisting of a table detailing the fees and costs incurred
by: (1) Hunter Maclean’s timekeepers in connection with both the
cancelled depositions of Dr. Cabeza and Mr. Pedroza and the
litigation of the Motion for Sanctions; and (2) Carlton Fields’ sole
timekeeper in connection with the litigation of the Motion for
Sanctions [D.E. 702-5 at 21-25].

Exhibit F, consisting of Hunter Maclean’s and Carlton Fields’
invoices for the fees and costs set forth in the table designated as
Exhibit E [D.E. 702-5 at 26-92].

{D.E. 702-6 at 1-2]. The Swerdloff Decl. references one exhibit:

a.

Exhibit A, consisting of a Hughes Hubbard invoice for the fees and
costs incurred by its timekeepers in connection with the cancelled
depositions of Dr. Cabeza and Mr. Pedroza [D.E. 702-6 at 3-17].

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ATTORNEYS’ FEES

The Declarations and their supporting Exhibits reflect that eight law firms expended a total
of 501.204 hours’ in connection with their preparation for the cancelled depositions of Dr. Cabeza
and Mr. Pedroza and the litigation of the Motion for Sanctions. As detailed in the following
sections: a total of 145.959 hours® were expended by three of the law firms in preparing for the
cancelled depositions of Dr. Cabeza and Mr. Pedroza; and a total of 355.245 hours® were expended
by seven of the law firms in connection with the litigation of the Motion for Sanctions.

I. HOURS EXPENDED PREPARING FOR CANCELLED DEPOSITIONS

As previously stated, a total of 145.959 hours were expended by three of the law firms in

preparing for the cancelled depositions of Dr. Cabeza and Mr. Pedroza. Those hours are

apportioned as follows:

 

‘ Plaintiffs comparable computation of hours yielded 501.2, a difference of 0.004 hours. See Declaration

of George F. Carpinello (hereafter, “Carpinello Decl.”) Ex. A [D.E. 704-2 at 1]. The undersigned is
confident that her figure is correct.

> Plaintiff's comparable computation of this figure yielded 145.96 hours, a difference of 0.001 hours. See
Carpinello Decl. Ex. A [D.E. 704-2 at 1]. The undersigned is confident that her figure is correct.
6 Plaintiff's comparable computation of this figure yielded 355.24 hours, a difference of 0.005 hours. See
Carpinello Decl. Ex. A [D.E. 704-2 at 1]. The undersigned is confident that her figure is correct.

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A. CAREY DECL. - PAUL WEISS’
TIMEKEEPER HOURS BILLED HOURLY RATE
SOUGHT
Jessica Carey, 4.65 $1,134-$1,233
Partner
Bruce Birenboim, 0.7 $1,323-$1,404
Partner
Adam Schwartz, 3.2 $945-$1,013
Counsel
Emily A. Weissler, 56.14 $779-$846
Associate
Lissette Duran, 1.3 $779-$846
Associate
Juan J. Gascon, 11.874 $549-$662
Associate
Shawn Muscat, 12.3 $3 15-$329
Paralegal

 

See Carey Decl. Am. Ex. A [D.E. 703-1 at 1-2]. Note: to compute the hours for Paul Weiss’

timekeepers, the undersigned applied the agreed upon percentage reductions referenced in

Amended Exhibit A to the Carey Decl. Id.

 

 

 

 

 

 

 

 

B. BURKOFF DECL. - HUNTER MACLEAN?
TIMEKEEPER HOURS BILLED HOURLY RATE
SOUGHT
David M. Burkoff, 425 $375-385

Partner

Allan C. Galis, 1.23 $270-300
Partner

Heather Lundy, 1.34 $270
Partner

 

 

 

See Burkoff Decl. [D.E. 702-5 at 3-4]; Burkoff Decl. Ex. E [D.E. 702-5 at 21-25]. Note: to

compute the hours for Hunter Maclean’s timekeepers, the undersigned applied the percentage

 

7 Paul Weiss served as co-counsel for Defendants Glencore Ltd., Glencore Energy UK Ltd., Gustavo
Gabaldon, Sergio de la Vega, and Luis Suarez. See Carey Decl. [D.E. 702-1 at 1].

® Hunter Maclean, as lead counsel, and Carlton Fields, as local counsel, represented Defendants Colonial
Oil Industries, Inc., Colonial Group, Inc., and Paul Rosado. See Burkoff Decl. [D.E. 702-5 at 2].

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reductions referenced in Exhibit E to the Burkoff Decl. See Burkoff Decl. Ex. E [D.E. 702-5 at

 

 

 

 

21-25].
C. SWERDLOFF DECL. - HUGHES HUBBARD?
TIMEKEEPER HOURS BILLED HOURLY RATE
SOUGHT
Nicolas Swerdloff, 3.0 $892.50
Partner
Jeffrey Goldberg, 49.8 $705.50
Associate

 

 

 

 

 

See Swerdloff Decl. [D.E. 702-6 at 1-2].

I. HOURS EXPENDED FOR LITIGATION OF THE MOTION FOR
SANCTIONS

As previously stated, a total of 355.245 hours were expended by seven of the law firms in

connection with the litigation of the Motion for Sanctions. Those hours are apportioned as follows:

 

» Hughes Hubbard represented Defendant BAC Florida Bank. See Swerdloff Decl. [D.E. 702-6 at 1].

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A. CAREY DECL. - PAUL WEISS
TIMEKEEPER HOURS BILLED HOURLY RATE
SOUGHT
Jessica Carey, 59 $1,134-$1,233
Partner
Bruce Birenboim, 51.69 $1,323-$1,404
Partner
Adam Schwartz, 20.525 $945-$1,013
Counsel
Maxwell Kosman, 27.515 $860-$927
Associate
Emily A. Weissler, 30.1 $779-$846
Associate
Lissette Duran, 3.8 $779-$846
Associate
Juan J. Gascon, 5.9 $549-$662
Associate
Melina Meneguin- 34.895 $549-$662
Layerenza, Associate
Shawn Muscat, 31.3 $3 15-$329
Paralegal

 

 

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See Carey Decl. Am. Ex. A [D.E. 703-1 at 3-6]. Note: to compute the hours for Paul Weiss’

timekeepers, the undersigned applied the agreed upon percentage reductions referenced in

Amended Exhibit A to the Carey Decl. Id.

 

B. WOLFSON DECL. - QUINN EMMANUEL"

 

 

 

 

 

 

 

TIMEKEEPER HOURS BILLED HOURLY RATE
SOUGHT
Adam B. Wolfson, 41.3 $920

Partner

William Burck, 5.0 $1,350
Partner

Stephen Hauss, 1.0 $920
Partner —

 

 

See Wolfson Decl. [D.E. 702-2 at 3-4].

 

‘© Quinn Emmanuel served as co-counsel for Defendant Trafigura Trading, LLC.

702-2 at 1].

See Wolfson Decl. [D.E.
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C. MULLINS DECL. - REED SMITH!
TIMEKEEPER HOURS BILLED HOURLY RATE
SOUGHT
Edward M. Mullins, 0.9 $600
Pariner
M. Cristina Cardenas, 0.4 $600
Partner
Christina Olivos, 29.4 $400
Associate
Cynthia Benavides, 4.5 $190
Paralegal
Susan Sanchez, 1.8 $190
Paralegal
Kevin Hernandez, 0.9 $190-265
Paralegal

 

 

 

 

 

See Mullins Decl. [D.E. 702-3 at 3-4].

 

 

 

 

 

D. KAPLAN/GREENBERG DECL. - SUSMAN GODFREY &
GELBER SCHACHTER”
TIMEKEEPER HOURS BILLED HOURLY RATE
SOUGHT
Alexander Kaplan, 5.37 $600
Partner,
Susman Godfrey
Michael Kelso, 15.84 $375
Associate,
Susman Godfrey
Gerald E. Greenberg, 3.1 $575
Partner,
Gelber Schachter

 

 

 

 

 

See Kaplan/Greenberg Decl. [D.E. 702-4 at 4-5].

 

"| Reed Smith served as co-counsel for Defendants Trafigura Trading, LLC and Jose Larroca. See Mullins

Decl. [D.E. 702-3 at 1].
'2 Susman Godfrey and Gelber Schachter represented Defendants Vitol Inc., Vitol Energy (Bermuda) Ltd.,
and Antonio Maarraoui. See Kaplan/Greenberg Dec}. [D.E. 702-4 at 2].

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E. BURKOFF DECL. - HUNTER MACLEAN &
CARLTON FIELDS
TIMEKEEPER HOURS BILLED HOURLY RATE
SOUGHT
David M. Burkoff, 25.655 $375-385
Partner,
Hunter Maclean
Allan C. Galis, 4.335 $270-300
Partner,
Hunter Maclean
Heather Lundy, 0.7 $270
Partner,
Hunter Maclean
Clifton R. Gruhn, 8.73 $430
Shareholder,
Carlton Fields

 

 

 

 

See Burkoff Decl. [D.E. 702-5 at 3-4]; Burkoff Decl. Ex. E [D.E. 702-5 at 21-25]. Note: to
compute the hours for Hunter Maclean’s and Carlton Fields’ timekeepers, the undersigned applied

the percentage reductions referenced in Exhibit E to the Burkoff Decl. See Burkoff Decl. Ex. E

[D.E. 702-5 at 21-25).
lil. TOTAL HOURS EXPENDED

The total of 501.204 hours expended by the above referenced eight law firms are

apportioned as follows:

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A. CAREY DECL. - PAUL WEISS
TIMEKEEPER HOURS BILLED HOURLY RATE
SOUGHT
Jessica Carey, 5.24 $1,134-$1,233
Partner
Bruce Birenboim, 52.39 $1,323-$1,404
Partner
Adam Schwartz, 23.725 $945—$1,013
Counsel
Maxwell Kosman, 27.515 | $860-$927
Associate
Emily A. Weissler, 86.24 $779-$846
Associate
Lissette Duran, 5.1 $779-$846
Associate
Juan J. Gascon, 17.774 $549~-$662
Associate
Melina Meneguin- 34.895 $549-$662
Layerenza, Associate
Shawn Muscat, 43.6 $3 15-$329
Paralegal

 

 

 

See Carey Decl. Am. Ex. A [D.E. 703-1 at 1-6]. Note: to compute the hours for Paul Weiss’

timekeepers, the undersigned applied the agreed upon percentage reductions referenced in

Amended Exhibit A to the Carey Decl. Id.

 

 

 

 

 

 

 

B. WOLFSON DECL. - QUINN EMMANUEL
TIMEKEEPER HOURS BILLED HOURLY RATE
SOUGHT
Adam B. Wolfson, 41.3 $920
Partner
William Burck, 5.0 $1,350
Partner
Stephen Hauss, 1.0 $920
Partner

 

 

 

See Wolfson Decl. [D.E. 702-2 at 3-4].

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C. MULLINS DECL. - REED SMITH

 

 

 

 

 

 

 

 

 

TIMEKEEPER HOURS BILLED HOURLY RATE
SOUGHT
Edward M. Mullins, 0.9 $600
Partner
M. Cristina Cardenas, 0.4 $600
Partner
Christina Olivos, 29.4 $400
Associate
Cynthia Benavides, 4.5 $190
Paralegal
Susan Sanchez, 1.8 $190
Paralegal
Kevin Hernandez, 0.9 $190-265
Paralegal

 

 

See Mullins Decl. [D.E. 702-3 at 3-4].

 

 

 

 

 

 

D. KAPLAN/GREENBERG DECL. - SUSMAN GODFREY &
GELBER SCHACHTER
TIMEKEEPER HOURS BILLED HOURLY RATE
SOUGHT
Alexander Kaplan, 5.37 $600
Partner,
Susman Godfrey
Michael Kelso, 15.84 $375
Associate,
Susman Godfrey
Gerald E. Greenberg, 3.1 $575
Partner,
Gelber Schachter

 

 

 

 

See Kaplan/Greenberg Decl. [D.E. 702-4 at 4-5].

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E. BURKOFF DECL. - HUNTER MACLEAN &
CARLTON FIELDS
TIMEKEEPER HOURS BILLED HOURLY RATE
SOUGHT
David M. Burkoff, 26.08 $375-385
Partner,
Hunter Maclean
Allan C. Galis, 5.565 $270-300
Partner,
Hunter Maclean
Heather Lundy, 2.04 $270
Partner,
Hunter Maclean
Clifton R. Gruhn, 8.73 $430
Shareholder,
Carlton Fields

 

 

 

 

 

See Burkoff Decl. [D.E. 702-5 at 3-4]; Burkoff Decl. Ex. E [D.E. 702-5 at 21-25]. Note: to
compute the hours for Hunter Maclean’s and Carlton Fields’ timekeepers, the undersigned applied

the percentage reductions referenced in Exhibit E to the Burkoff Decl. See Burkoff Decl. Ex. E

[D.E. 702-5 at 21-25].

 

 

 

 

F. SWERDLOFF DECL. - HUGHES HUBBARD
TIMEKEEPER HOURS BILLED HOURLY RATE
SOUGHT
Nicolas Swerdloff, 3.0 $892.50
Partner
Jeffrey Goldberg, 49.8 $705.50
Associate

 

 

 

 

 

See Swerdloff Decl. [D.E. 702-6 at 1-2].
REASONABLENESS OF REQUESTED ATTORNEYS’ FEES
I. Reasonable Hourly Rate
“‘A reasonable hourly rate is the prevailing market rate in the relevant legal community for
similar services by lawyers of reasonably comparable skills, experience, and reputation.”

Norman, 836 F.2d at 1299 (citing Blum v. Stenson, 465 U.S. 886, 895-96 n.11 (1984)). “The

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general rule is that the ‘relevant market’ for purposes of determining the reasonable hourly rate for
an attorney’s services is ‘the place where the case is filed.” Am. Civil Liberties Union of Georgia
v. Barnes, 168 F.3d 423, 437 (11th Cir. 1999) (quoting Cullens v. Georgia Dep’t. of Transp., 29
F.3d 1489, 1494 (11th Cir.1994)). “The applicant bears the burden of producing satisfactory
evidence that the requested rate is in line with prevailing market rates.” Norman, 836 F.2d at 1292
(citing N.A.A.C.P. v. City of Evergreen, Ala., 812 F.2d 1332, 1338 (11th Cir. 1987)). “Ifa fee
applicant desires to recover the non-local rates of an attorney who is not from the place in which
the case was filed, he must show a lack of attorneys practicing in that place who are willing and

able to handle his claims.” Barnes, 168 F.3d at 437 (citing Cullens, 29 F.3d at 1494).

 

Plaintiff argues that Defendants have asked for reimbursement at unreasonably high rates.
See Response [D.E. 704 at 11]. In support of its position, Plaintiff submits the expert opinion of
Jeffrey Rynor, Esq., who: has practiced as an attorney in both state and federal courts within the
Southern District of Florida for over 35 years, handling hundreds of cases; is the former president
of the Dade County Bar Association; is currently a member of the Florida Bar’s Board of
Governors; and, through his years of practice, has become “knowledgeable about the quality of
the bar in this district and the attorneys’ rates reasonably charged in this district.” See Declaration
of Jeffrey Rynor (hereafter, the “Rynor Dec!.”) [D.E. 704-6 at 2-4]. After reviewing the issues
presented in this action, Mr. Rynor opined that: (1) local law firms are capable of handling “a
complex matter such as this one at local market rates”; and (2) reasonable rates for similar cases
in the Southern District of Florida “should be in the range of $550 to $675 per hour for partners,
$250 to $400 per hour for associates, and $125 to $175 per hour for paralegals.” See Rynor Decl.

[D.E. 704-6 at 3-4] (footnote omitted).

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Defendants argue that the “participation of attorneys based in New York and other major
legal markets was warranted [in this case] due to the complex nature of the claims that a New York
trust plaintiff put at issue—particularly arcane questions of New York law and their interface with
Venezuelan law.” Reply [D.E. 705 at 6]. Defendants argue therefore, that the attorneys based in
New York and other major legal markets are entitled to recover non-local rates for their work. See
Motion for Fees and Costs [D.E. 702 at 4, 11]; Reply [D.E. 705 at 5-9, 14]. However, Defendants
have not satisfied their burden of showing that there were no attorneys in the area who were willing
and able to handle this case—a requirement for establishing entitlement to non-local rates. See
Barnes, 168 F.3d at 437. Moreover, the involvement of local attorneys in this action demonstrates
that attorneys in the Southern District of Florida were willing and able to handle this case. In light
of the foregoing, the undersigned finds that Defendants are not entitled to an award of non-local
rates. Id.

Taking into consideration the documentation provided by Defendants in support of the
Motion for Fees and Costs, the parties’ arguments, the Rynor Decl., and applying her own
expertise, the undersigned finds that the following hourly rates are reasonable in the local market
for the following timekeepers: $625 for partners, shareholders, and counsel; $350 for associates;
and $125 for paralegals. Therefore, the undersigned will adjust downwards any hourly rates that
exceed these figures. See also Graves v. Plaza Med. Centers, Corp., No. 10-23382-CV, 2018 WL
3699325, at *5 (S.D. Fla. May 23, 2018), report and recommendation adopted, No. 10-CV-23382-
, 2018 WL 3697475 (S.D. Fla. July 13, 2018) (awarding certain partners hourly rates of $625 per

hour based on their experience); BASF Corp. v. Collision One, Inc., No. 09-CV-60328, 2010 WL

 

3 Timekeepers from the following law firms are non-local: Paul Weiss; Quinn Emmanuel;: Susman
Godfrey; and Hunter Maclean. See Motion for Fees and Costs [D.E. 702 at 15-16]. Timekeepers from the
following firms are local: Reed Smith; Gelber Schachter; Carlton Fields; and Hughes Hubbard. See id.;
Motion for Sanctions [D.E. 430 at 20].

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1797750, at *1 (S.D. Fla. May 4, 2010) (finding an hourly rate of $350 for an associate was
reasonable); Simmons v. Twin 918 Inc., No. 19-CV-23737, 2019 WL 7283218, at *3 (S.D. Fla.
Dec. 27, 2019) (finding an hourly rate of $125 for a paralegal was reasonable).

I. Number of Hours Reasonably Expended

“Courts are not authorized to be generous with the money of others, and it is as much the
duty of courts to see that excessive fees and expenses are not awarded as it is to see that an adequate
amount is awarded.” Barnes, 168 F.3d at 428. “The district court . . . should exclude from this
initial fee calculation hours that were not ‘reasonably expended.” Hensley, 461 U-S. at 434. “In
ascertaining the number of hours reasonably expended on the litigation, the district court should
exclude any excessive, redundant, or otherwise unnecessary hours from the amount claimed. [T]he
hours excluded are those that would be unreasonable to bill to a client and therefore to one’s
adversary irrespective of the skill, reputation or experience of counsel.” Domond_v.
PeopleNetwork APS, 750 F. App’x 844, 848 (11th Cir. 2018) (citations and quotations omitted)
(alteration in original). Another factor for the Court’s consideration in assessing the
reasonableness of hours expended is the degree of success obtained. See Hensley, 461 U.S. at 436
(if a party “has achieved only partial or limited success, the product of hours reasonably expended
on the litigation as a whole times a reasonable hourly rate may be an excessive amount.”).

“When a district court finds the number of hours claimed is unreasonably high, the court
has two choices: it may conduct an hour-by-hour analysis or it may reduce the requested hours
with an across-the-board cut.” Bivins v. Wrap It Up, Inc., 548 F.3d 1348, 1350 (11th Cir. 2008)
(citing Loranger v. Stierheim, 10 F.3d 776, 783 (11th Cir. 1994) (“In a case like this one, where
the fee motion and supporting documents are so voluminous, it is sufficient for the court to provide

a concise but clear explanation of its reasons for the reduction. Accordingly, on remand the district

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court need not engage in an hour-by-hour analysis.”). When engaging in an across the board
analysis, “it is sufficient for the court to provide a concise but clear explanation of its reasons for
the reduction.” Loranger, 10 F.3d at 783.

As noted above, the eight law firms expended 501.204 hours in connection with their
preparation for the cancelled depositions of Dr. Cabeza and Mr. Pedroza and the litigation of the
Motion for Sanctions. Plaintiff argues that these hours should be reduced across the board by 40%
because: (1) they are unreasonably high; and (2) Defendants were unsuccessful in obtaining all of
the relief sought in the Motion for Sanctions. See Response [D.E. 704 at 16-18].

With regard to the first argument, the undersigned does not find the hours expended by
each of the eight law firms to be unreasonable, given the complexity of the issues presented in this
case.

With regard to the second argument, the undersigned notes the following procedural facts.
On November 5, 2018 the undersigned sua sponte narrowed the scope of the Motion for Sanctions
in light of the Standing R&R. See Order [D.E. 637]. As a result, the only relief addressed
thereafter was Defendants’ request for an award of attorneys’ fees and costs incurred in connection
with the preparation for the cancelled depositions of Dr. Cabeza and Mr. Pedroza and the litigation
of the Motion for Sanctions. Id. By that time, the Motion for Sanctions had been fully briefed.
See Motion for Sanctions, filed on June 14, 2018 [D.E. 430]; Sanctions Response, filed on June
28, 2018 [D.E. 459]; Notice of Facts, filed on June 29, 2018 [D.E. 466]; Sanctions Reply, filed on
July 5, 2018 [D.E. 478]; and Notice of Supplemental Authority, filed on July 10, 2018 [D.E. 486].
Moreover, Defendants’ counsel’s participation in the Show Cause Hearing held on January 25,
2019 was limited by the undersigned’s narrowing of the scope of the Motion for Sanctions. See

Order [D.E. 637]; Paperless Minute Entry [D.E. 664].

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Given these circumstances, the undersigned finds no justification for reducing the number
of hours expended in litigating the Motion for Sanctions. See Hensley, 461 U.S. at 435 (“[T]he
fee award should not be reduced simply because the [moving party] failed to prevail on every
contention raised in the lawsuit... . Litigants in good faith may raise alternative legal grounds for
a desired outcome, and the court’s rejection of or failure to reach certain grounds is not a sufficient
reason for reducing a fee. The result is what matters.”) (citation omitted); Aqua Massage Int’l,
Inc. v. Licht, No. 03-CV-60493, 2005 WL 8136511, at *3 (S.D. Fla. Mar. 11, 2005) (When the
moving party has “obtained excellent results, the attorney should recover for all hours reasonably
expended on the litigation.”).

II. Adjusted Award of Attorneys’ Fees

Applying the downward adjustments to the hourly rates determined above to the total hours

billed by each timekeeper, where applicable, results in the following computations: '4

 

4 The total dollar value for each timekeeper is rounded to the nearest dollar.

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A. PAUL WEISS
TIMEKEEPER HOURS HOURLY TOTAL
BILLED RATE
Jessica Carey, 5.24 $625 $3,275
Partner
Bruce 52.39 $625 $32,744
Birenboim,
Partner
Adam Schwartz, 23.725 $625 $14,828
Counsel
Maxwell 27.515 $350 $9,630
Kosman,
Associate
Emily A. 86.24 $350 $30,184
Weissler,
Associate
Lissette Duran, - 5.1 $350 $1,785
Associate
Juan J. Gascon, 17.774 $350 $6,221
Associate
Melina 34.895 $350 $12,213
Meneguin-
Layerenza,
Associate
Shawn Muscat, 43.6 $125 $5,450
Paralegal
B. QUINN EMMANUEL
TIMEKEEPER HOURS HOURLY TOTAL
BILLED RATE
Adam B. 41.3 $625 $25,813
Wolfson,
Partner
William Burck, 5.0 $625 $3,125
Partner
Stephen Hauss, 1.0 $625 $625
Partner

 

 

 

 

 

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C. REED SMITH

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TIMEKEEPER HOURS HOURLY TOTAL
BILLED RATE
Edward M. 0.9 $600 $540
Mullins,
Partner
M. Cristina 0.4 $600 $240
Cardenas,
Partner
Christina 29.4 $350 $10,290
Olivos,
Associate
Cynthia 4.5 $125 $563
Benavides,
Paralegal
Susan Sanchez, 1.8 $125 $225
Paralegal
Kevin 0.9 $125 $113
Hernandez,
Paralegal
D. SUSMAN GODFREY
TIMEKEEPER HOURS HOURLY TOTAL
BILLED RATE
Alexander 5.37 $600 $3,222
Kaplan, Partner
Michael Kelso, 15.84 $350 $5,544
Associate
FE. GELBER SCHACHTER
TIMEKEEPER HOURS HOURLY TOTAL
BILLED RATE
Gerald E. 3.1 $575 $1,783
Greenberg,
Partner

 

 

 

 

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F. HUNTER MACLEAN'S5
TIMEKEEPER HOURS HOURLY TOTAL
BILLED RATE
David M. 20.005 $375 $7,502
Burkoff, Partner
David M. 6.075 $385 $2,339
Burkoff, Partner
Allan C. Galis, 3.865 $270 $1,044
Partner
Allan C. Galis, 1.7 $300 $510
Partner
Heather Lundy, 2.04 $270 $551
Partner
G. CARLTON FIELDS
TIMEKEEPER HOURS HOURLY TOTAL
BILLED RATE
Clifton R. 8.73 $430 $3,754
Gruhn,
Shareholder
H. HUGHES HUBBARD
TIMEKEEPER HOURS HOURLY TOTAL
BILLED RATE
Nicolas 3.0 $625 $1,875
Swerdloff,
Partner
Jeffrey 49.8 $350 $17,430
Goldberg,
Associate

 

 

 

 

 

 

'S Because Mr. Burkoff’s and Mr. Galis’ hourly rates increased during the pendency of this case, the
undersigned reviewed each entry in Exhibit E of the Burkoff Decl. to determine how many hours each

timekeeper billed at each rate. See Burkoff Decl. [D.E. 702-5 at 3]; Burkoff Decl. Ex. E. [D.E. 702-5 at
22-25].

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IV. Total Fee Award by Law Firm

Based on the above computations, the total recommend fee award for each law firm is as

 

 

 

 

 

 

 

 

 

 

 

 

follows:
LAW FIRM FEE AWARD
PAUL WEISS $116,330
QUINN EMMANUEL $29,563
REED SMITH $11,971
SUSMAN GODFREY $8,766
GELBER SCHACHTER $1,783
HUNTER MACLEAN $11,946
CARLTON FIELDS $3,754
HUGHES HUBBARD $19,305
TOTAL FEE AWARD $203,418

 

 

NON-TAXABLE EXPENSES AND COSTS

Together, the law firms of Paul Weiss, Reed Smith, Susman Godfrey, Hunter Maclean, and
Carlton Fields have submitted documentation for a total of $14,920.23 in non-taxable expenses
and costs in connection with their preparation for the cancelled depositions of Dr. Cabeza and Mr.
Pedroza and the litigation of the Motion for Sanctions. See Carey Decl. [D.E. 702-1 at 4]; Carey
Decl. Am. Ex. A [D.E. 703-1 at 2, 6]; Mullins Decl. [D.E. 702-3 at 3]; Mullins Decl. Comp. Ex.
B. [D.E. 702-3 at 34]; Kaplan/Greenberg Decl. [D.E. 702-4 at 5]; Kaplan/Greenberg Decl. Ex. 1
[D.E. 702-4 at 29-30]; See Burkoff Decl. Exs. E & F [D.E. 702-5 at 23-24, 52, 64, 68, 78].

Plaintiff concedes that Paul Weiss is entitled to $6,314.65 in non-taxable expenses and
costs, which represents the sum of the court reporter’s and videographer’s invoices for the
cancelled depositions of Dr. Cabeza and Mr. Pedroza. See Response [D.E 704 at 24]; Carpinello
Decl. Ex. D. [D.E. 704-5 at 1-3].

The bulk of the remainder of the non-taxable expenses and costs relates to non-local
counsel from Paul Weiss, Susman Godfrey, and Hunter Maclean’s travel to the Southern District

of Florida for attendance at hearings relating to the Motion for Sanctions. See Carey Decl. [D.E.

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702-1 at 4]; Carey Decl. Am. Ex. A [D.E. 703-1 at 2, 6]; Mullins Decl. [D.E. 702-3 at 3]; Mullins
Decl. Comp. Ex. B. [D.E. 702-3 at 34]; Kaplan/Greenberg Decl. [D.E. 702-4 at 5];
Kaplan/Greenberg Decl. Ex. 1 [D.E. 702-4 at 29-30]; See Burkoff Decl. Exs. E & F [D.E. 702-5
at 23-24, 52, 64, 68, 78].'° However, the undersigned finds that such travel expenses and costs are
not reasonably recoverable because Defendants have failed to show that there were no attorneys

in the area who were willing and able to handle this case. See Martinez v. Hernando Cty. Sheriff's

 

Office, 579 F. App’x 710, 714 (11th Cir. 2014) (“We respect [the plaintiff's] right to retain counsel
of his choice, but, like the district court, we do not think it reasonable to pass the costs of [his
attorney’s] travel on to the [defendant] without a showing of a lack of local counsel.”).

In light of the foregoing, the undersigned finds it reasonable to award Paul Weiss $6,314.65
in non-taxable expenses and costs in connection with the cancelled depositions of Dr. Cabeza and
Mr. Pedroza.

RECOMMENDATION

Based on the foregoing considerations, the undersigned RESPECTFULLY
RECOMMENDS that Defendants’ Motion for Fees and Costs [D.E. 702] be GRANTED IN PART
AND DENIED IN PART and that, pursuant to Rule 37(b) Defendants be awarded attorneys’ fees
in the amount of $203,418.00 and non-taxable costs in the amount of $6,314.65, for a total award

of $209,732.65, which is apportioned as follows:

 

'6 Of the remainder, a de minimis amount of less than $250.00 consists of other miscellaneous expenses such as parking
and reprographics.

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LAW FIRM FEE AWARD | COST AWARD | TOTAL AWARD

PAUL WEISS $116,330 $6,314.65 $122,644.65
QUINN EMMANUEL $29,563 $0.00 $29,563.00
REED SMITH $11,971 $0.00 $11,971.00

SUSMAN GODFREY $8,766 $0.00 $8,766.00

GELBER SCHACHTER $1,783 $0.00 $1,783.00
HUNTER MACLEAN $11,946 $0.00 $11,946.00

CARLTON FIELDS $3,754 $0.00 $3,754.00
HUGHES HUBBARD $19,305 $0.00 $19,305.00
TOTAL AWARD $209,732.65

 

 

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Pursuant to Local Magistrate Judge Rule 4(b), the parties have fourteen days from the date

of this Report and Recommendation to file written objections, if any, with the Honorable Darrin

P. Gayles. Failure to timely file objections shall bar the parties from attacking on appeal the factual

findings contained herein. See Resolution Tr. Corp. v. Hallmark Builders, Inc., 996 F.2d 1144,

1149 (11th Cir. 1993). Further, “failure to object in accordance with the provisions of [28 U.S.C.]

§ 636(b)(1) waives the right to challenge on appeal the district court’s order based on unobjected-

to factual and legal conclusions.” See 11th Cir. R. 3-1 (1.0.P. - 3).

ce:

RESPECTFULLY SUBMITTED in Miami, Florida this 31st day of January, 2020.

United States District Judge Darrin P. Gayles
Counsel of Record

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ALICIA M. OTAZO-REYES
UNITED STATES MAGISTRATE JUDGE
